Case 3:24-cv-03836-TLT   Document 57-4   Filed 01/10/25   Page 1 of 2




                 EXHIBIT C
      Case 3:24-cv-03836-TLT          Document 57-4         Filed 01/10/25   Page 2 of 2




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